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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF WYOMING

CORY LEICK, an individual, and AMANDA             )
LEICK, an individual,                             )
                                                  )
              Plaintiffs,                         )
                                                  )
v.                                                )        Civil No.: 24-CV-00073
                                                  )
WYOMING STATE FORESTRY                            )
DIVISION, WYOMING OFFICE OF                       )
STATE LANDS AND INVESTMENTS,                      )
JENIFER SCOGGIN, in her official capacity,        )
KELLY NORRIS, in her official capacity,           )
and GE FORESTRY, INC., an Oregon                  )
corporation,                                      )
                                                  )
              Defendants.                         )



ORDER GRANTING MOTION FOR PRO HAC VICE ADMISSION OF CHRISTIAN D.
                          RUSH, ESQ.


       THIS MATTER comes before the Court on Plaintiff’s Motion for Pro Hac Vice Admission

of Christian D. Rush, good cause having been shown and the Court being fully advised in the

premises for the Motion, it is hereby GRANTED and ORDERED that:

       The Motion for Pro Hac Vice Admission of Christian D. Rush is approved, and Christian

D. Rush can appear for Plaintiffs Cory and Amanda Leick.

       DATED this _____ day of April 2024.



                                                  BY THE COURT:



                                                  ____________________________________
                                                  United States Magistrate Judge
